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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ANNE FLACCUS,

                    Plaintiff,

        v.                                          Civil Action No. 2:17-cv-04808-MAK

 ADVANCED DISPOSAL SERVICES
 EASTERN PA, INC. f/k/a ADVANCED
 DISPOSAL SERVICES SHIPPENSBURG,
 LLC; and ADVANCED DISPOSAL
 SERVICES SOUTH, LLC f/k/a
 ADVANCED DISPOSAL SERVICES, INC.

                    Defendants.


     PLAINTIFF’S MOTION FOR FINAL APPROVAL OF CLASS SETTLEMENT

       Plaintiff Anne Flaccus, by and through her undersigned counsel, hereby respectfully

moves the Court, pursuant to Federal Rule of Civil Procedure 23, for an Order: (1) granting final

approval to the class action settlement in this action on the terms of the Settlement Agreement

executed and previously filed with the Court on February 8, 2023 (ECF No. 81-5); (2) certifying

the Settlement Class as defined in the Settlement Agreement; (3) appointing Ms. Flaccus as

Class Representative and her Counsel as Class Counsel under Rule 23(g); (4) finding that the

manner in which the Settlement Class was notified of the Settlement was the best practicable

under the circumstances and adequately informed the Settlement Class members of the terms of

the Settlement, how to lodge an objection, and how to obtain additional information; (5)

approving the plan for allocation of the Settlement Funds; and (6) granting such other and further

relief as the Court may deem just and proper.




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        The motion is based on the memorandum of law in support, the declaration of Benjamin

M. Mather and all exhibits thereto (including the Settlement Agreement), and all pleadings and

filings in this action.

        As set forth more fully in the memorandum of law, the requested relief is appropriate

because (1) the parties’ settlement and the plan for allocation of settlement funds is fair,

adequate, and reasonable and meets all requirements for approval as articulated by the Third

Circuit and Rule 23(e)(2), (2) the requirements of Rule 23(a) and (b)(3) are met and thus

certification of the settlement class is warranted, and (3) the proposed notice program satisfies

due process and Rule 23(e). For the Court’s convenience, a proposed order is filed herewith

(subject to modification upon counsel’s supplemental filings prior to the hearing, as

contemplated by the Preliminary Approval Order).

                                               Respectfully submitted,

Dated: June 15, 2023                           /s/ Andrew J. Belli
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